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                            UNITED STATES DISTRICT CO URT
                            SO UTHERN DISTRICT O F FLO RIDA

                        CASE NO .13-14047-CR-M ARTINEZ/LYNCH

   UNITED STATES OF AM ERICA,

          Plaintift
                                                            FILED ùy               D.C.
   M.

   ANTHONY 1.JO HNSO N,
                                                               JAN 122011
                                                               STEVEN M LARIMORE
                                                                CLERKuh.ols'rcT
          Defendant.                                          S.D.oFFL/.-F'
                                                                          cFlE:R.c:
                                     l

                  REPORT AND RECOM M ENDATIO N ON DEFEN DANT'S
           MOTION TO SUPPRESS EVIDENCE AND STATEMENTS (D.E.#170)
         THIS CAUSE having com e on to be heard foranevidentiary hearing on January 8,

   2014 in respectto the aforem entioned m otion filed by the DefendantJohnson, and this

   Court having reviewed the m otion,the response and reply and having conducted an

   evidentiary hearing atwhich tim e thisCoud received testim ony, evidence,and argum ent,

   m akes the following recom m endations to the DistrictCourt:

         1.     The Defendant's m otion asserts a theory thatthere was som e sod of a

   rem ote G ps/onstartechnologyw hich perm itted Iaw enforcem ent, eitherdirectly orbyway

   ofa third party such as O nstar,to disable the vehicle in which the Defendantwas riding.

   Atthe conclusion ofthe evidentiary hearing,counselforthe Defendantargued thatwhile

   there m ay not have been any evidence subm itted to supportthis theory of a 'rem ote

   disabling''ofthesubjectvehicleinwhichtheDefendantwasriding,thatthetrafficstopwas
   stillunreasonable and a constitutionalviolation underthe Fourth Am endment.

                The evidentiary hearing proceeded w ith counselfor the padies and the

   Defendantpresent.Duringthe evidentiary hearing,thisCourtclarified with counselforthe
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   Defendantthatthe M otion to Suppress addressed solely the traffic stop as alleged in the

   m otion.Counselforthe Defendantstated thatthe M otion to Suppress onlychallengesthe

   traffic stop and any subsequentsearch ofthe vehicle w hich m ay have been a directresult

   ofthattraffic stop. Counselforthe Defendantagreed thatthe M otion to Suppress does

   notseek suppression ofany statem entsw hich m ay have been m ade by the Defendantin

   spite ofthe factthatthe m otion isentitled ''M otionTo Suppress Evidence and Statem ent.''

   This Coud received no evidence atthis hearing concerning any statements m ade by the

   Defendant,whetherthey be pre-M iranda orpost-M iranda in nature. Asa result,thisCoud

   willnot address in its Repod and Recomm endation any issues concerning possible

   statem ents which m ay have been m ade by the Defendant.

          3.    Thefirstwitness called by the governm entwasScottJohnson ofthe Pod St.
   Lucie Police Departm ent. He has worked forthatdepadm entfora num berofyears and

   has experience with otherlaw enforcem entagencies as well. On July 8,2013, he was on

   duty in his departm entoffices in PortSt.Lucie. He heard a series ofradio transm issions

   from hisdepartmentdispatcherconcerning possible bankrobberieshavingjustoccurred
   in St.Lucie County.These dispatch transm issions indicated thatone ofthe vehicles m ay

   have been heading south from FortPierce on 1-95 towards the Pod St Lucie area.
                                                                          .




         4.     Officerlohnson Iefthis officesand goton hisdepadmentissued m otorcycle.

   He headed north onAiroso Boulevard towardsthe Crosstown Expresswaywhich intersects

   with 1-95 in PortSt.Lucie.He headed in thatdirection since there are certain areasin the

   City of PortSt.Lucie which are m onitored by police in a situation such as this where

   officers observe vehicles which m ay m atch the description of a vehicle being sought.

   OtherIaw enforcem entagencies in St.Lucie County,as wellas the PortSt.Lucie Police
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   Depadment,were covering variousareasthroughoutSt. Lucie County,the Ci
                                                                       ty ofPortSt.
   Lucie and specifically the 1-95 corridor.

          5.    Since the Defendant's m otion alleges a theory thatsom e technology was

   utilized to rem otely disable/stop the Defendant's vehicle, the governm entasked Officer

   Johnson ifon July 8thhe had any ability to ''push a button'
                                                             'to stop a vehicle in any way.

   OfficerJohnson confirm ed thathe is notfam iliarwith hisdepartm enthaving thatcapability

   in any way,shape orform . He furtherstated thathe did nothave thatability to stop the

   Defendant's vehicle from his m otorcycle.

         6.     Government's ExhibitNo.1,admitted into evidence withoutobjection,is a
   com pactdisc recording ofvarious radio transm issions from the various 1aw enforcem ent

   agencieswhich were involved in locating the vehicles involved in these bank robberies in

   St.Lucie County on July 8,2013. The government played portions of Governm ent's

   ExhibitNo.1 onthe record forOfficerlohnson and IaterforDetective Pearson Iaterduring

   the hearing. OfficerJohnson testi
                                   fied thathe has listened to this com pactdisc recording

   and the radio transm issions accurately reflectwhathe heard on July 8,2013.

         7.     Governm ent'sExhibits Nos.2A and 2B adm itted into evidence atthis hearing

   withoutobjection areaerialGoogle mapsofthe areasofPortStLuciewhich both Officer
   Johnson and Detective Pearson used during theirtestim ony in respectto Iocating and

   pursuing the Defendant's vehicle.

         8.     Government's Exhibits Nos.3,4,5,6 and 7were also adm itted into evidence

   without objection from the Defendant. Government's Exhibits Nos.3,4 and 5 are
   photographsofthe vehicle inwhich the Defendantwasa passengerand the Iocationwhere

   itwas finally stopped.Governm ent's Exhibits Nos.6 and 7 are photos ofthe m oney taken
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   on July 8,2013 from the PNC Bank atthe Orange Blossom Mallon Okeechobee Road in
   Fod Pierce which contained the G PS m oney tracking device   .



          9.     OfficerJohnson testified thatthe description ofthe vehicle seen leaving the

   PNC Bank robbery on Okeechobee Road was a silver orwhite m inivan occupied by

   severalblack m aleswith m asks and guns.Further,O fficerJohnson recallsthe dispatcher

   saying thatthere was a GPS money trackerin the m oney pack w hich had been given to

   the individualswho robbed the bank.Apparentlythe Iaw enforcem entdispatchers had the

   abilityto m onitorthe G PS m oneytrackeron a m apto sim ultaneouslyadvise officerswhere

   the vehicle containing the m oneypackwastraveling.OfficerJohnsonsaid thathe was not

   fam iliarwith the specific technology of how the GPS m oney trackerw orks norhow his
   dispatcherwas able to follow the path ofthe vehicle by use ofthe m oney tracker. He

   simplyfollowed the inform ation being transm itted by the dispatchersregardingthe Iocation

   ofthe vehicle.As he was traveling towards the Crosstown Expressway in PortSt Lucie,
                                                                                     .



   OfficerJohnson's dispatcherstated thatthe vehicle was southbound on 1-95.

          1Q.   OfficerJohnson stated thatthe officerswerefirstlooking fora silverorwhite

   m inivan. Thereafter,the dispatcherstated thatthe vehicle had stopped fora period of

   tim e.Law enforcem entofficers then began Iooking forvehicles,otherthan m inivans, with

   occupants m atching the description ofthe persons w ho had robbed the PNC Bank. He

   testified thatthis was done because the inform ation thatthe vehicle had stopped fora

   period oftime m ay have indicated thatthe persons involved in the PNC Bank robbery had

   switched vehicles. Therefore,OfficerJohnson was Iooking forany vehiclesw hich either

   m atched the initialdescription of a white or silver m inivan and/or vehicles containing



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   occupants w hich m atched the description ofseveralblack m ales seen Ieaving the bank

   robbery.

                 W hile westbound on the Crosstown Expressway in PortSt Lucie,Officer
                                                                              .



   Johnson saw severalvehicles com ing towards him being follow ed by law enforcem ent

   vehicles.The dispatcherwas advisingthatthe G PS m oneytrackerwas indicating thatthe

   vehicle containingthe m oneywasinthatim mediatevicinity. Hedecided toturn around and

   follow those vehicles since his dispatchersaid the GPS signalfrom the m oney tracker

   showed thevehicle heading southbound onCaliforniaAvenue in Pod St. Lucieatthattim e.

   He had already passed that street so he m ade his U-turn to go eastbound on the

   Crosstown Expressway towards California Avenue.

          12.   OfficerJohnson testified thathe saw no m inivans m atching the description,

   butdid see a sm allHonda in an area where the dispatchersaid the m oney trackerwas

   sending back a GPS signal. He stopped the Honda and quickly determ ined thatitwas

   occupied byone person being a white fem ale driver.Since the occupantdid notmatchthe

   description ofthe persons believed to be involved in the PNC robbery,he im m ediately let

   thatvehicle go and continued down California Avenue.

         13. Atthattim e there were three civilian vehicles in frontofhim .The dispatcher

   was advising that the G PS m oney tracker was sending back a signalfrom that very

   Iocation. Two ofthe vehicles in frontofOfficerJohnson turned offinto a shopping plaza     .




   He decided to follow the third vehicle to determ ine ifitm ay have contained the m oney and

   individuals involved in the PNC robbery.He turned on his em ergency Iights and stopped

   the vehicle.The vehicle he stopped was a white Chryslersedan and was Iaterfound to

   contain the m oney and GPS money trackertaken from the PNC Bank.
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          14. The vehicle did pull over and stop in response to Officer Johnson's

   em ergency Iights. OfficerJohnson stated thathe could notidentify any ofthe occupants

   atthattime. He saw one frontpassengerturn and Iookbackathim which indicated to him

   thatthere were at Ieasttwo people in the vehicse. His intention was to approach the

   vehicle to determ ine whetherthe occupants m atchedthe description givenofthe persons

   involved in the bank robbery.

          15.    Before OfficerJohnson could getoffofhis m otorcycle and approach the

   vehicle,the vehicle im mediatelytookoffata high rate ofspeed.Officerlohnson estim ated
   thatthe vehicle took offno m ore than two to three seconds afteritinitially stopped on the

   side ofthe road.

          16.    OfficerJohnson then pursued the vehicle and transm itted his Iocation to his

   dispatcher. He described the w hite Chryslerand gave the tag num beroutas he followed

   it. He followedthe vehicle onto SouthwestCam eo Boulevard ata high rate ofspeed. The

   vehicle ran through red lightsand atvarioustim es ittraveled into oncom ing traffic lanes in

   an attem ptto elude him .

          17.    The vehicle nextturned westbound on Pod St.Lucie Boulevard and then

   shodly thereaftersouthbound on Chestnut.These streets are reflected in Governm ent's

   Exhibit No.2B. The vehicle then wentwestbound on Aster Road. There were other

   officers on footin thatarea along w ith otherlaw enforcem entvehicles. The vehicle was

   eventually stopped in the vicini
                                  ty of765 AsterRoad.The Defendantand two otherblack

   m ales and the black fem ale driverwere taken into custody.

          18.    OfficerJohnson Iearned from otherofficers atthe scene thatthe vehicle did

   contain the G PS m oney trackerand the money takenfrom the PNC Bank robbery.These
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   item s are depicted in Governm ent's Exhibi
                                             ts Nos.6 and 7. A firearm was also found in the

   car.There were shots fired by Iaw enforcem entw hen the vehicle was attem pting to avoid

   thestop.No onewasinjuredandthevehicleeventuallywasbroughttoastopwithitsfront
   end in a culvertas reflected in Government's Exhibits Nos.3,4 and 5.O fficerJohnson

   testified thatthere was a box with the m oney in italong with the G PS m oney tracker. This

   isreflected in G overnm ent's ExhibitNo.6 which isthe box seen on the ground outside the

   vehicle nextto a blue sneaker.

          19.   OfficerJohnson stated that atthe tim e that he m ade the first stop ofthe

   vehicle, he had not observed any traffic violations or violations of any law . He was

   stopping the vehicle to briefly m ake a determ ination as to whetherornotthe occupants

   m atched the description ofthe bank robbers since the dispatcherwas advising thatthis

   wasthe IastIocation from which the GPS m oneytrackerwassending a signal.He testified

   that,justashehad donepreviouslywiththeHondahehadstopped,iftheoccupantsofthe
   w hite Chryslerdid notm atchthe description ofpersons involved in the bank robbery,then

   he was going to Ietthe white Chryslervehicle go. However,before he could even check

   the occupants ofthe vehicle,ittookoffw ithin two orthree seconds ata high rate ofspeed.

   OfficerJohnson testified thathe observed the whi
                                                  te Chrysler violate severaltraffic Iaws

   as he attem pted to stop itagain.Som e ofthose violations were speeding,failure to obey

   a com m and to stop,passing atan intersection,running a red Iight,im properpassing,

   running a stop sign and reckless driving.

         20.    Officerlohnsontestifiedthatatthe time ofthe firststopofthe whi
                                                                             te Chrysler,

   ifthe occupants appeared to m atch the description ofthe bank robbers,he would have

   attempted to continue with whathe characterized as a felony stop to m ake furtherinquiry
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   ofthe occupantsto determ ine ifthey were in factinvolved in the PNC Bank robbery since

   the GPS m oney trackerwas sending a signalfrom thatgeneralvicinity. Once the vehicle

   leftwithin two orthree seconds ata high rate ofspeed,this 'heightened his suspicions''

   thatthe vehicle was in factinvolved in the PNC Bank robbery.OfficerJohnson did not

   arrestanyone.He did nottake any statements norseize any evidence in this case.

         21.    O n cross-exam ination,OfficerJohnson confirm ed thathis depadmentdoes

   notutilize O nstarorany third padyem ergency stop service. He is notaware ofany such

   service being available to him orhis depadm ent. ln fact,he testified thatbecause ofthe
   high speed chase and the dispatcher'scontinualm onitoring ofthe G PS m oneytracker, he

   did notbelieve anyone w ould have had sufficienttime to even contactO nstarora third
   party to initiate any such emergency stop. There w as no evidence subm itted during the

   hearing that the w hi
                       te Chrysler vehicle in fact possessed any Onstar or any other

   technologywhichwould have perm itted athird padyto make a rem ote stop ofthatvehicle.

         22.    OfficerJohnson testified thathe is notsure ifthe m oney trackeris in the
   m oney pack depicted in G overnm ent's ExhibitNo.7 orifthe m oney trackeris within the

   box itself. He did nottake those photographs. He was advised by otherofficers,who

   m ade the seizure,thatthe GPS m oneytrackeristhe item depicted inGovernment's Exhibit

   No.7.

         23.    Officer Johnson adm itted on cross-exam ination that the white Chrysler

   vehicle did notmatch the initialdescription ofa white orsilverm inivan which was seen

   Ieaving the PNC Bank robbery on Okeechobee Road in FortPierce. However,he stated

   that his stop ofthe white Chryslerwas based upon the G PS m oney tracker Iocation

   inform ation he was receiving from his dispatcher. O nce the white ChryslerIeftthe scene
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   ofthe firststop w i
                     thin two orthree seconds,then the second attem ptto stop the vehicle

   by OfficerJohnson was based upon his observations ofseveraltraffic Iaw violations and

   his heightened suspicion thatthe vehicle was in factcontaining the G PS money tracker

   taken during the bank robbery.

         24. Asthe white Chryslerattem pted to elude Iaw enforcem entin the AsterRoad
   area,OfficerJohnson was in pursuitand he observed a black Ford SUV ram the white

   Chryslerand force itoffthe road. The Ford SUV was driven by Detective Pearson ofthe

   StLucie County Sheriff's Office.Governm ent'sExhibits Nos.3,4 and 5 reflectthe relative
   positions ofthe white Chryslerand the Ford SUV afterthe stop.

         25. O n redirectexam ination,OfficerJohnson testi
                                                         fied thatduring thatfirstvery
   briefinitialstop ofthe white Chryslervehicle,he could see the frontpassengerwas a black

   individual.




         26.     The nextwitness called by the governm entwas Detective Keith Pearson of

   the St.Lucie County Sheriff's Office.He was on duty on July 8,2013 atthe time thatthere

   were sim ultaneous bank robberies in St.Lucie County.He was in his offices in FortPierce

   and heard the radio transm issions aboutthese bank robberiesw hich indicated one ofthe

   robberies occurred nearOkeechobee Road. He then got into his black Ford SUV and

   traveled towards O keechobee Road.

         27.     W hile he was driving towardsthe PNC BankIocation onO keechobee Road,

   he heardthe dispatchersaythatthe G PS m oneytrackerwas being monitored and thatthe

   vehicle containing the m oney tracker was southbound on 1-95 near the Crosstown
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   Expressway. Detective Pearson has som e priorexperience w ith G PS tracking devices.

   He testified thathis departmentwas notusing Onstarnorany otherthird pady tracking

   technologyto eithertrack and/orrem otely stop the vehicle in question. In his experience,

   there could be a two to seven m inute delay in the various Iocations thatthe G PS tracker

   signalm ay be sending back to where itwas being m onitored.

         28.    Detective Pearson was notfam iliarw ith the specific technology norhow his

   dispatcherw as m onitoring this G PS m oney tracker. He was acting solely upon the

   inform ation being transm itted overthe Iaw enforcementradios from the dispatchers who

   were tracking the vehicle by use ofthe G PS m oney trackerwithin the m oney packtaken

   during the PNC Bank robbery on O keechobee Road.

         29.    Based on the inform ation provided bythe dispatcher,Detective Pearsongot

   off1-95 atthe Crosstown Expressway w hich was the Iastknown Iocation from which the

   G PS m oney trackerhad senta signal. He then continued eastbound on the Crosstown

   Expressway Iooking fora silverm inivan. He neversaw any van in thatarea where the

   G PS trackerwassending asignal.Hethen turned ontoCam eo Boulevard in Pod St.Lucie

   to head backwesttowards 1-95.W hile in thisIocation,he observed a vehicle running a red

   IightatCam eo and PortSt.Lucie Boulevards traveling ata fairly fast rate ofspeed.

         30.    Detective Pearson im mediatelyturnedand activated hissirenand emergency

   Iights. He then continued to pursue the vehicle.He observed in his rearview m irrorother

   vehicles from the Port St.Lucie Police Depadm entwere also in pursuitofthis vehicle

   which was a white Chrysler.

         31.    Governm ent's Exhibit No. 1 contains radio traffic involving the St. Lucie

   County Sheriff's Office dispatcheraswell.Detective Pearson testified thathe has listened

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   to this recording and itdoes contain his depadment's radio band.He stated the recording

   is accurate as to radio traffic he heard atthe time ofthese events. Additionalpodions of

   the recording were played onthe recordjustashad been done during OfficerJohnson's
   testim ony.

          32.    Detective Pearson testified thatwhen he saw the vehicle run the red lightat

   Cameo and PortSt.Lucie Boulevards,he could see thatitcontained w hathe believed to

   be fourblack males. Thiswould m atch the generaldescription ofthe persons involved in

   the PNC Bank robbery.He stated thatw hile he waspursuing thevehicle,he could see that

   the driverwas a black fem ale and the otherthree occupants were black m ales. The

   occupants ofthe vehicle keptturning back and Iooking towards him . The vehicle then

   turned onto Chestnutand then Asteras referenced previously during Officer's Johnson's

   testim ony.Othertraffic in the area had to slam on theirbrakes in an attem ptto notcollide

   w ith the white Chryslerw hile itw as attem pting to elude Detective Pearson and the other

   Iaw enforcem entvehicles.

          33.    Detective Pearson testified that neither he nor any m em ber of his Iaw

   enforcem entdepartm entused Onstarnorany otherthird partytechnologyto stopthewhite

   Chryslervehicle. He used hisvehicle to force the white Chrysleroffthe road.He ram m ed

   ita couple oftim es to getitto stop w here itfinally Ianded as reflected in Governm ent's

   Exhibits Nos.3,4 and 5. He testi
                                  fied thatthe frontend ofthe white Chrysler ran into a

   sm allculvertwhich can be seen in these exhibits.The vehicle cam e to an abruptstop.It

   had to Iaterbe rem oved by use ofa tow truck.

          34.    Detective Pearson'sdriver's side doorwaspinned againstthe rightsidefront

   passengerdoors ofthe white Chrysler. He identified the Defendantin coud atthis hearing
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   as the person w ho was in the frontpassengerseatofthe white Chrysler. Neitherthe

   DefendantnorDetective Pearson could exittheirvehiclessincethesevehicleswerepinned

   againsteach otheras reflected in Governm ent's Exhibits Nos.3,4 and 5.

         35.    Detective Pearson testified thatwhile he was pursuing the white Chryslerin

   an attem ptto getitto stop,he observed this Defendantreaching dow n between his Iegs

   on the floorofthe car. Detective Pearson believed thatthe Defendantm ay have been

   reaching fora weapon since he had inform ation from the dispatchers thatthe individuals

   w ho robbed the PNC Bankwere arm ed.

         36.    Detective Pearson identified the m oneytrackerin Governm ent's ExhibitNo.

   7. He testified thatitappears to be a Iittle thickerthan a creditcard based upon his prior

   experience w ith these devices.

         37.    He testified thatbased on aIIofthe inform ation which he had atthe tim e,he

   believed thatthe vehicle running from him had been involved in the PNC Bank robbery.

   Also,he has priorexperience involving robberies and knows thatsometim es individuals

   switch vehicles to avoid capture.Therefore when the white Chryslerran the red light,he

   im mediatelyturned hisattentiontothatvehicle eventhough i
                                                           tdid notm atchthe description

   ofa white orsilverm inivan. Ifthatwhite Chryslerhad notrun the red Iight,he would not

   have paid any attentionto it.He would havejustIooked atitand Ietitgo.He was in fact
   Iooking fora silverm inivan with three black m ales in itatthattim e. However,ifhe had

   seen a vehicle with occupants m atching that description,he w ould have stopped the

   vehicle to m ake a quickdeterm inationas to whetherornotthose individualswere involved

   in this bank robbery.
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         38.    O n cross-exam ination,Detective Pearson testified thathe did nottake the

   photograph ofthe G PS moneytrackerasreflected in Governm ent's ExhibitNo.7.He has
   notseen any G PS trackingdevice in this case.Based upon hispriorexperience,the G PS

   m oney tracker sends a signal and does not receive a signal. He is aware that his

   departm entdoes have G PS trackertechnology to perm itthe tracking ofdevices such as

   in this case. He does notknow exactly how the signalis transm i
                                                                 tted to a m ap forthe

   dispatcherto track m ovem entofthe vehicle involved.

         39.    Detective Pearson testified thatGovernm ent's ExhibitNo.4 showsthe front

   ofthe white Chryslervehicle in a culvertand thatithad to be rem oved by a tow truck. He

   once againtestified thatthe vehicle cam eto an abruptstop and rightbefore being stopped

   itran overa m ailbox before hitting thatculvert.




         40.    The governm entthen rested its case.The Defendantrested aswellwithout

   presenting any witnesses orevidence,



                                         ANALYSIS



         41.    The theoryofthe Defendantsetfodh in his Motion To Suppress isthatthere

   was some outside force orthird pady,such as O nstar,em ployed by Iaw enforcem entto
   involuntarily stop the white Chryslerin w hich the Defendantand his co-defendants were

   riding. Counselforthe Defendantadm itted during his closing argumentthatno evidence



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   was brought forward atthis hearing which would support such a theory. Therefore,

   counselforthe Defendantargued thatthe stop ofthe w hite Chrysler,whetherornotitwas

   aided by a third party as originally argued,was stillunreasonable and a violation ofthe

   Defendant's constitutionalrights. Therefore,this Court m ust analyze the traffic stops

   conducted by OfficerJohnson and by Detective Pearson.

         42.    Law enforcem entofficers m ay seize a suspectfora briefinvestigatory Terry

   stop w here the officers have a reasonable suspicion thatthe suspectw as involved in or

   wasaboutto be involved in crim inalactivity and the stop was reasonably related in scope

   to the circumstances which justified the interference in the first place. Reasonable
   suspicion is a Iess dem anding standard than probable cause and requires a showing

   considerablyjessthan apreponderance ofthe evidence.The FourthAm endm entrequires

   atleastaminimalIevelofobjectivejustification inmakingsuchaTerrystop.Inviewingthe
   facts within the fram ework ofknowledge ofthe officers atthe tim e thatthe Terry stop is

   initiated,the Coud Iooks to the totality ofthe circum stances to determ ine w hetherornot

   there existed reasonable suspicion required to justify a Terry stop. United States v.
   Jordan,635 F.3d 1181 (11thcir.2011).
         43.    A person's proxim ity to illegal activity m ay also be considered when

   determining whetherornotthere are reasonable grounds to justify detention. United
   States v.clark,337 F.3d.1282 (11thcir.2003). In this instance,OfficerJohnson was
   receiving real-tim e inform ationfrom a Iaw enforcem entdispatcherthattherew as a vehicle

   in hisvicinity which was em itting the G PS m oney trackersignal.Even though there were

   no silverorwhite m inivans in the area,the evidence established thatthere existed the

   possibili
           tythatthe bank robbers had infactswitched vehicles.Therefore,OfficerJohnson

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   was Iooking for any vehicles occupied by individuals matching the descriptions of the

   persons seen robbing the PNC Bank. This is why he stopped a Honda which he quickly

   determ ined was being operated by a Ione white fem ale driver. The Honda was

   im m ediately allowed to proceed on.

         44.    Counselforthe Defendantargued attheconclusion ofthe hearing thatthese

   officers were stopping aIlvehicles.This is notthe evidence which this Courtheard. The

   officerswere attem pting to identify occupants ofvehicles in the vicinity ofthe GPS m oney

   trackersignalas itwas being related to them by the Iaw enforcementdispatchers. This

   was not an anonym ous tip which they were acting upon.Both Officer Johnson and

   Detective Pearson were acting upon real-time inform ation being provided to them from law

   enforcem entdispatchersw ho were following the vehicle by use ofthe GPS m oneytracker

   signalon a m ap ofPortSt.Lucie. This is corroborated bythe transm issions recorded on

   Governm ent's ExhibitNo.1.
          45.   Law enforcem entofficers maystopand briefly detain a personto investigate

   such a reasonable suspicion thata person orpersons m ay be involved in crim inalactivity

   even though probable cause foran arrestwould be lacking. United States v.W hite,593

   F.3d 1199 (11thcir.2010).In thiscase,OfficerJohnson stopped the white Chryslerand
   within two orthree seconds the white Chryslertook offata high rate ofspeed. Officer

   Johnson testified thathis originalintention was to approach the white Chryslervehicle,

   investigate w hetherits occupants matched the descriptionofthe bank robbers.Iftheydid,
   he would proceed with a felony stop m aking fudherinquiry ofthe occupants. He did not

   random ly selectthis vehicle. He testified thatthe white Chryslervehicle wasin the vicinity

   ofthe G PS m oneytrackersignalandwastraveling onthe sam e road ashisdispatcherwas
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   relating. He had a reasonable suspicion thatthe vehicle w ith the bank robbers and the

   G PS m oneytrackerwas in the im m ediate vicinity ofw here he was Iocated atthe time.He

   stopped the whi
                 te C hryslerto eitherconfirm ordispelhis reasonable suspicions.

         46. Based upon his testim ony,this Courtfinds thatOfficerJohnson's suspicions

   were in factreasonable andthathewas able to adiculate specific reasonswhy he selected

   the w hi
          te Chryslervehicle to stop in orderto m ake inquiryofits occupants.This was m ore

   than an inchoate and unpadicularized suspicion. Itwas based upon inform ation he was

   receiving from a Iaw enforcementdispatcherwho related thatthe signalfrom the GPS

   m oney trackerwas com ing from thatsam e road and specific vicinity. See United States

   v.Gordon,231 F.3d 750 (11thcir.2000).
         47.    The initialstop ofthe white Chryslerby OfficerJohnson is the stop which

   m ustbeviewed underthe Terry analysis referenced above.The stop and detentionofthat

   vehicle was notunreasonably Iong since the driverofthe w hi
                                                             te Chrysleronly waited two

   to three seconds before Ieaving the area ata high rate ofspeed before OfficerJohnson

   could even walk up to the vehicle.Therefore the very,very briefTerry stop ofthe white

   Chrysler was not unreasonable as to the time and detention. See Uni
                                                                     ted States v.

   Simmons,172 F.3d 775 (11thcir.1999).
          48.    O nce the white Chryslertook offata high rate ofspeed,OfficerJohnson's

   reasonable suspicionswere heightenedto anevenfudherdegree.Iftherewas no crim inal

   conductafoot,why would the white Chryslerleave within two orthree seconds ofbeing

   pulled overby OfficerJohnson? Therefore,he had the rightto pursue the vehicle in order

   to stop itand m ake furtherinquiryto eitherconfirm ordispelhis suspicion thatthis vehicle

   containing the GPS m oney tracker. The analysis underTerrv is dependentupon the

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   totality ofthe circum stances and facts are notconsidered in isolation. United States v.

   Griffin,696 F.3d 1354 (11thcir.2012).
         49. W hile pursuing the white Chryslerafteritfailed to heed his com mand to

   remain stopped,OfficerJohnson observed the drivercom m itseveraltraffic violations as

   he related during histestimony.OfficerJohnson wasjustified in attempting to stop that
   vehicle,m ake inquiry ofthe driveras to w hythey were attem pting to elude him ,and in fact

   issue citations ifappropriate.

         50.    The evidence then picks up with Detective Pearson's testim ony.He was

   receiving radio transm issions from Iaw enforcementdispatchers thatthe G PS m oney

   trackerwas sending a signalin the Crosstown Parkway area of Port St. Lucie. As

   Detective Pearson attem ptedto turnaround and head backtowards 1-95,he observed the

   white Chryslerruna stop Iightand com m itseveraltrafficviolationswhile traveling ata high

   rate ofspeed. He testified thatifthe vehicle had notcom m itted any traffic violations he

   would nothave paid anyfurtherattention to it. However,the inform ation he had within his

   possession wasthatthe Iaw enforcem entdispatchers were getting a signalfrom the GPS

   m oney trackerin thatspecific vicinity.He then observes a vehicle,which he firstbelieved

   contained four black males,running a stop Iight and attem pting to elude other police

   officers who were pursuing thatvehicle.

         51.     Detective Pearson then began pursuitofthe vehicle and noticed thatitwas

   occupied by a blackfem ale driverwiththree black males as passengers.The passengers
   were turning around and Iooking atDetective Pearson as he pursued it.The vehicle m ade

   severalturns in attem pting to elude Detective Pearson and the otherofficers. The vehicle
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   is observed violating severaltraffic Iaws and going into oncom ing traffic Ianes on atIeast

   two occasions in a fudherattem ptto avoid stopping.

          52.    Detective Pearson then gets alongside the vehicle and sees this Defendant

   reachdow nbetween his Iegstowardsthefloorboard ofthe vehicle.Detective Pearson had

   within his fram ework of know ledge thatthe persons involved in the bank robbery were

   arm ed. He was in fearthatthe Defendantmay be going fora weapon,and then ram med

   the white ChrysleratIeasttwice to getitto stop.

          53.    Atthattim e,therew ere otherofficersin the roadway nearAsterRoad as the

   testim ony reflects.Those officersshotatthe white Chryslerin an attem ptto m ake itstop.

   The exhibits entered into evidence reflectw here Detective Pearson's vehicle was able to

    ram the side ofthe white Chryslerand push itthrough a grassy area w here the w hite

   Chryslerended up abruptly stopping w ith its frontw heels in a culved.

          54.    ThisCoudfindsno constitutionalviolation inthe actionsofDetective Pearson

   either. He pursued the white Chrysler vehicle after observing it run a red Iight. The

   occupants appeared to m atch the description ofthe individuals being soughtin the bank

    robbery. Fudher,the vehicle was in the specific vicinity from where the Iaw enforcem ent

   dispatcherswere receiving a G PS m oneytrackersignal.ThisCourtfinds no constitutional

   violation in Detective Pearson's actionswhich resulted in eventually stopping the vehicle

   andthe arrestofthe Defendantand otheroccupants.The G PS m oneytrackerand m oney

   taken in the robbery were seized along with a weapon incidentto those arrests.

          55.    W hen the white Chryslerfled from OfficerJohnson's firsttraffic stop and

    Detective Pearson'spursuit,Iaw enforcementofficerswerejustifiedinstoppingthevehicle
   to resolve the am biguity raised by these attem pts to elude the officers. Uni
                                                                                ted States v.

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    Franklin,323 F.3d 1298 (11thcir.2003). This Courtfinds no constitutionalviolation by
   Officerlohnson'soriginalstop ofthe vehicle.Based uponthetotality ofthe circum stances,

    he waswellw ithin his rightsto m ake inquiryofthatvehicle whichwas in the specificvicinity

   ofthe GPS m oney trackersignal.The totality ofthe evidence suggested thatthe persons

   who com m itted the bankrobbery may have sw itched vehiclesto avoid capture,Therefore,

   officers were Iooking forany vehicles w i
                                           th occupants possibly m atching the description

   given ofthe bank robbers.Before he could even approach the vehicle to confirm ordispel

    his suspicions,the vehicle tookoffata high rate ofspeed.In his pursuit,he observed the

   drivercomm itseveraltrafficIaw violations.Hewasjustified infudherpursuingthatvehicle.
          56. Likewise,Detective Pearsonwasjustified in attem pting to stop the vehicle
   which had com m itted trafficviolationsin hispresence.Fudher,the white Chryslerwasalso

    in the vicinity of the G PS m oney tracker signalbased upon the information he was

    receiving from his law enforcem entdispatcher,

          57. The Defendantdoes notchallenge any statem ents thathe m ay have m ade

    subsequentto his arrest. W hile the title of his m otion references ''statem ents'' as this

    Coud pointed outearlierherein,there was no testim ony concerning pre-M iranda orpost-

    M iranda statem ents ofthe Defendant. Therefore,there is nothing in thatregard forthis

    Coud to rule upon.Secondly,the Defendantstated through counselatthe hearing thathe

   was notchallenging any search warrantwhich m ay have been issued authorizing search

    the vehicle afterithad been stopped.There wasno evidence presented in thatregard.The

    m otion does notraise any issues concerning any search warrant. Finally,the Defendant

    presents no argum entconcerning the search ofthe vehicle incidentto the arrestofthe

    Defendantand the otheroccupants once the vehicle had been stopped. A warrantless

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   search ofthe stopped vehicle was a Iaw fulsearch incidentto the arrestofthe individuals

   who were taken into custody in this instance. United States v.Olbel,275 Fed.Appx.910

   (11thcir.2008).
          ACCO RDING LY,this Courtrecom mends to the DistrictCoud thatthe Defendant's

   Motion Suppress ID.E.#170Jbe denied.
          Thiscase is presently setfortrialon the DistrictCourt'sdocketofJanuary27,2014.

   ln orderto give the DistrictCourtan oppodunity to review anyobjectionswhich may be
   filed in respectto this Reportand Recom mendation,this Coud finds thatitis necessaryto

   shodenthe normalfoudeendaytimeperiodwithinwhichtofile objections.Therefore,any
   objectionsto be filed bythe governmentorthe Defendantin respectto this Reportand
   Recom m endation shallbe filed no Iaterthan close ofbusiness on Friday,January 17,

    2014. W eiss v.Standard Ins.Co.,2009 W L 1833963 (S.D.Fla.2009). Pursuantto
    FederalRulesofCriminalProcedure,Rule59(b)(2),failuretofileobjectionstimelywaives
    a pady'srightto review and barsthe padies from attacking on appealany Iegalrulings and

    factualfindings contained herein.
          DONEANDSUBMITTEDthi
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    Nodhern Division ofthe Southern DistrictofFlorida.                   .-m
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                                                  AN .LYNCH, .
                                                   E STA    AG ISTRATE JUDG E


    Copies furnished:
    Hon.Jose E.Madinez
    AUSA Carm en M .Lineberger
    Valentin Rodriguez,Esq.

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